Case 2:03-cv-02637-tmp Document 94 Filed 08/03/05 Page 1 of 2 PagelD 91

IN THE UNITED STATES DlS'rRlCT CooRT F”-ED ay
FoR THE WESTERN DISTRICT oF TENEESSE "“ D-C.
WESTERN DIVISIoN USAUG ..3 PH 3 0
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YoUNG’S 'rRADING Co.` INC. and QER'( US'§A'§Q)MO#D
YoUNG’S TRADING Co.CoM, 1NC W/D O-': itt saw
PLAiNrrFFS ' " 3
VS. N@_ 03-0\/- 2637
Jury Demanded
FANCY IMPORT. INC.,

YEOUNG H. YUN, CHUN H. Yl and
HOON .lli()Ul\lG
DEFENI)ANTS

 

ORDER ALLOWING RESPONSE FILED OUT OF TIME

 

For good cause and no prejudice to the dei"endants, it is appropriate that the plaintiffs be
allowed to tile this motion and memorandum in Support thereofl

lT IS SO ORDERED.

 

l\/IAGISTRATE .lUDGE TU PHAl\/l

DATE; Pt'o§,cv.\)ll' '5£ 96°5_
Approved for Entry: u

%¢/z,/

Beth Brooks 9139
P.O. Box 11894
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901-324-5000
CERTIFICATE OF SERVICE

I, Beth Brool<s. do hereby certify that I have mailed a copy of the foregoing to Anthony
Merolla and Eugene Forrester at 5855 Sandy Springs Cl_ Suite 300. At]anta GA 30328 and Hoon
Jeoung,F at 184 Scarbroug,h Lane # l()4, Cordova, TN 38018-4 67, m day ol`AuguSt, 2005.

  
 

Th‘:s document entered on the docket Sbeet lwe
with Ru|e 58 and/or 79(3) FHCP on

UNITED sTTEAlesTIC COURT - WESTRNE D"'TRCT 0 TNNESSEE

   

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This notice confirms a copy of the document docketed as number 94 in
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Honorable Tu Pham
US DISTRICT COURT

